Case 2:O4-cr-20311-.]Pl\/| Document 199 Filed 08/24/05 Page 1 of 7 Page|D 283

uNlTED sTATEs olsTRicr couRT
wEsTERN olsTRlcT oF TENNEssEE F"£D BY D-C-

MEMPHls olvlsioN
05 AUG 214 PH 2= ha

UN|TED STATES OF AMER|CA :: [
m< 03 `"M' itt CCUT

~ - n , . . i.=bE!-$ l='..:
V 2.04CR20311'05-Ml wm OF }r\: 1_,[1\,;}_:':3
VENCEL MART|N

Stephen R. Lef‘f|erl CJA

Defense Attorney

707 Adams Avenue

Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 20 and 22 of the indictment on May 26, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tme & section .NLWG_MLM Offense Nurnber(sl
Conc|uded
18 u.s.c. § 641 Embezzlemem 04/05/2002 20
18 u.s.c. § 641 Embezzlemem 04/05/2002 22

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 2, 4, 6, 17, 33, 41-43 and 47 are dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residencel or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 02/17/1955 August 24, 2005
Deft's U.S. Nlarsha| No.: 19806-076

Defendant's Mai|ing Address:
6876 Stevenswood Avenue

Memphis. TN 38141 /Q]MP [/Y](' ULM

J N PH|PPS MCCALLA
UN| ED S ATES DlSTR|CT JUDGE

August jj l2005
Thls document entered on the docket heat n corn |lance 44
th ama 55 ami/or 320;:) Fnch on ' 0

 

Case 2:O4-cr-20311-.]Pl\/| Document 199 Filed 08/24/05 Page 2 of 7 Page|D 284

Case No: 2:04CR20311-05-Ml Defendant Name.' Vencel MART|N Page 2 of 6
|MPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 12 Months and 1 Day as to Count 20 and 12

Months and 1 Day as to Count 22. Counts 20 and 22 are to be served concurrently
with each other for a total term of incarceration of 12 Months and 1 Day.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

Case 2:O4-cr-20311-.]Pl\/l Document 199 Filed 08/24/05 Page 3 of 7 Page|D 285

Case No: 2:04CR20311-05-Ml Defendant Name: Vencel NlART|N Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 Years as to Count 20 and 2 Years as to Count 22. Counts 20 and 22 are to
be supervised concurrently with each other for a total term of supervision of 2 Years.

The defendant shall report to the probation oche in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation officer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the nrst Hve days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation omcer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofEcer;

9. The defendant shall permit a probation omcer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

Case 2:O4-cr-20311-.]Pl\/l Document 199 Filed 08/24/05 Page 4 of 7 Page|D 286

Case No: 2:04CR20311-05-M| Defendant Name: Vence| |V|ART|N Page 4 of 6

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement omcer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notincation requirement

13. if this judgment imposes a Hne or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such Hne or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|TIONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall seek and maintain full-time employment

2. The defendant shall cooperate with DNA collection as directed by the Probation Ofiicer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

 

Tota| Assessment Total Fine Tota| Restitution
$200.00 $17,230.00

The Specia| Assessment shall be clue immediately.

Case 2:O4-cr-20311-.]Pl\/l Document 199 Filed 08/24/05 Page 5 of 7 Page|D 287

Case No: 2:04CR20311-05-M| Defendant Name: Vence| MARTIN Page 5 of 6

FlNE
No fine imposed
*RESTlTUT|ON

Restitution in the amount of *§17,230.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

 

Priority
Tota| Amount of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment

|ntemal Revenue Service $12,230.00 $12,230.00
FDC P.O. Box 30309

AMF - Stop 831

Memphis, TN 38130

RE: Teresa Fleming and

Lorray Broden case;

Case No. 2:O4CR20311

AmSouth Bank $5,000.00 $5,000.00
1900 5"" Avenue North

Birmingham, AL 35203

Attn: Jason Fleming;

RE: Vencei Martin

*Restitution is to be paid joint and several with co-defendants Teresa Fleming and Lorray
Broden in case 2:04CR20311.

 

|f the defendant makes a partial payment each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same uniess,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

Case 2:04-cr-20311-.]Pl\/l Document 199 Filed 08/24/05 Page 6 of 7 Page|D 288

Case No: 2:04CR20311-05-M| Defendant Name: Vencei MARTIN Page 6 of 6
SCHEDULE OF PA¥MENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. Additionally, the interest Requirement is waived.

Un|ess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment Al| criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation ofticer, or the United States atton'iey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNITED `SATES DISTRICT COURT - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 199 in
case 2:04-CR-20311 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Stephen R. Leftier
LEFFLER LAW OFFICE
707 Adams Ave.
i\/lemphis7 TN 38105

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorabie .i on McCaila
US DISTRICT COURT

